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                       BENJAMIN ROSENBERG (pro hac vice pending)
                       benjamin.rosenberg@dechert.com
                   2   DECHERT LLP
                       1095 Avenue of the Americas
                   3   New York, NY 10036
                       Telephone:    212.698.3622
                   4   Facsimile:    212.698.3599                  F JL E D
                   5   H. JOSEPH ESCHER III (No. 85551)
                       h.j oseph. escher@dechert. com                JUN 29 ZOlB
                   6   DECHERT LLP
                       One Bush Street, Suite 1600                  SUSAN Y. SOONG
                                                                  CLERK. U.S. DISTRICT COURT
                   7   San Francisco, California 94104         NORTHERN DISTR~CALIFORNIA
                       Telephone:       415.262.4500
                   8   Facsimile:       415.262.4555
                       Attorneys for Dechert LLP.
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                                               UNITED STATES DISTRICT COURT
               10
                                             NORTHERN DISTRICT OF CALIFORNIA
               11
                                                   SAN FRANCISCO DIVISION
               12

               13
                                            CV 18 80 1141\fiSC
                       IN REAPPLICATION OF DECHERT LLP,            Case No.                    DMR
               14
                                      Applicant.                   DECHERT LLP'S APPLICATION FOR
               15                                                  DISCOVERY FOR USE IN A FOREIGN
                                                                   PROCEEDING
               16
                                                                   [DECLARATION OF BENJAMIN
               17                                                  ROSENBERG FILED
                                                                   CONCURRENTLY]
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DECHERT LLP
ATTORNEYS AT LAW
                                  APPLICATION FOR DISCOVERY FOR USE IN A FOREIGN PROCEEDING     Case No.
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                   1          Applicant Dechert LLP (which, along with its affiliated United Kingdom partnership,

                   2   Dechert LLP (UK), shall be referred to as "Dechert" herein) hereby applies for an order pursuant

                   3   to 28 U.S.C. § 1782 granting Dechert leave to obtain limited discovery from Danny Fortson

                   4   ("Fortson") for use in a foreign judicial proceeding in the United Kingdom. This Application is

                   5   supported by the memorandum of points and authorities below and the Declaration of Benjamin

                   6   Rosenberg and exhibits, filed concurrently herewith. The subpoena to be served on Mr. Fortson

                   7   and proposed order are attached to Mr. Rosenberg's Declaration as Exhibits Band C.

                   8                                           JURISDICTION
                   9          The Court has jurisdiction over this Application pursuant to 28 U.S.C. § 1782 as an

               10      application for discovery for use in a foreign proceeding.

               11                                    INTRADISTRICT ASSIGNMENT
               12             Assignment to this District is based on the fact that the witness that Dechert wishes to

               13      subpoena is located in San Francisco, California.

               14                                             INTRODUCTION
               15             Pursuant to 28 U.S.C. § 1782, Dechert submits this Application, which seeks an order

               16      permitting Dechert to serve journalist Danny Fortson a subpoena for documents and testimony

               17      related to a letter written by Dechert to Eurasian Natural Resources Corporation Ltd. ("ENRC")

               18      that was leaked to Mr. Fortson, the contents of which was reflected in articles he wrote that were

               19      published in The Sunday Times. ENRC has stated that it is "reasonably likely" to bring claims

               20      against Dechert in the United Kingdom regarding this leaked letter. Dechert seeks limited

               21      documents on this narrow topic, which are directly relevant to the disputed issues in the

               22      anticipated claim in the foreign proceeding and are presumably in the exclusive possession of Mr.

               23      Fortson. Section 1782 authorizes the production of documents such as those Dechert seeks.

               24      Accordingly, Dechert seeks the issuance of a subpoena to request those documents and obtain Mr.

               25      Fortson's testimony.

               26                                              BACKGROUND
               27             In April 2011, ENRC had retained Dechert to provide legal services relating to the

               28      investigation of a whistle blower's claim that one or more ENRC subsidiaries engaged in
DECHERT LLP                                                          1
ATTORNEY~ AT LAW

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                   1   wrongdoing. On or about March 27, 2013, ENRC terminated the retainer. Dechert thereafter

                   2   wrote a letter to ENRC concerning the termination of the retainer. Rosenberg Decl.              ~   2. This

                   3   letter was apparently leaked to Mr. Fortson, who used it to write articles published in The Sunday

                   4   Times in late April2013, which revealed the contents of the letter. Id.          ~   3; Ex. A. The articles

                   5   recounted that the letter contained allegations of ENRC misconduct, including evidence that

                   6   documents had been falsified and destroyed, use of electronic wiping tools by employees,

                   7   payments to African presidents, and creation of a false office. Id.       ~   4. ENRC apparently believes

                   8   that Dechert was the source of the leaked letter to Mr. Fortson and has stated that it is reasonably

                   9   likely to bring a claim against Dechert in a pending proceeding in the United Kingdom in relation

              10       to this leak. ld.   ~   5. Dechert strongly disputes that it leaked the letter. Id.

              11               By application dated February 23, 2018, ENRC filed in this District an Application for

              12       Discovery for Use in a Foreign Proceeding Pursuant to 28 U.S.C. § 1782. See Case No. 18-mc-

              13       80041-LB (March 30,2018 N.D. Cal) (ECF 1). ENRC expressly sought its discovery for use

              14       against Dechert "in a contemplated action in the United Kingdom," and asserted the discovery "is

              15       relevant to potential claims that ENRC is reasonably likely to bring [against Dechert]." Id. 1:26-

              16       27, 2:19-20. ENRC has already issued a claim in the English courts against Dechert arising out of

              17       matters which occurred during Dechert's retainer. ld., Decl. of Magnus Boyd, 2:12-16. If

              18       discovery from Mr. Fortson proves Dechert to be the source of the leak, ENRC asserts this would

              19       give rise to an additional claim, arising out of Dechert's actions following termination of its

              20       retainer. Id.

              21               After ENRC filed its application, Dechert filed a motion to participate in ENRC's

              22       discovery of Mr. Fortson on March 12,2018 ("Motion"). Case No. 18-mc-80041-LB (ECF 6).

              23       Dechert sought to receive all discovery materials produced by Mr. Fortson and to participate in
                                                                        I
              24       ENRC's deposition ofMr. Fortson. ld. 1:6-9, 1:24-2:3. On March 30,2018, the Court entered an

              25       Order granting ENRC's application. Case No. 18-mc-80041-LB (ECF 9). The same day, the

              26       Court entered an Order terminating Dechert's Motion because Mr. Fortson was not currently

              27       producing any documents or attending a deposition, but giving Dechert the right to participate in

              28       meet and confers and leave tore-notice its motion if Mr. Fortson participates in discovery. Case
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                   1   No. 18-mc-80041-LB (ECF 11). After learning Mr. Fortson had been served with ENRC's

                   2   subpoena, Dechert filed its Re-Notice of Motion to Participate in Discovery Provided Pursuant to

                   3   28 U.S.C. § 1782, and incorporated by cross-reference the Notice of Motion, Motion, and

                   4   Memorandum of Points and Authorities contained in its Motion filed on March 12, 2018 as ECF

                   5   6. Case No. 18-mc-80041-LB (ECF 14). On June 11,2018, the Court ruled that Dechert could

                   6   continue to participate in meet and confers with Mr. Fortson and ENRC, but otherwise denied

                   7   without prejudice Dechert's Motion. Case No. 18-mc-80041-LB (ECF 17). The parties are

                   8   currently engaged in meet and confers in that proceeding.

                   9          Accordingly, in order to ensure it has access to the same evidence that ENRC does, that it

              10       can ask its own questions in a deposition of Mr. Fortson, and obtain documents that it may seek

              11       from Mr. Fortson, Dechert now submits this Application in order to depose Mr. Fortson and to

              12       request that Mr. Fortson produce a limited set of documents in addition to those that are sought by

              13       ENRC. The documents Dechert seeks are on the same narrow topic that is the focus ofENRC's

              14       application; namely, identifying the source who leaked Dechert's letter to Mr. Fortson, which he

              15       used in publishing the articles in The Sunday Times.

              16              Specifically, ENRC requested from Mr. Fortson communications with, or documents he

              17       received from, Dechert that relate to ENRC, and documents reflecting communications between

              18       Dechert and ENRC. In addition to these same documents requested by ENRC, Dechert seeks one

              19       additional set of documents: any documents that relate to the source of information for The

              20       Sunday Times articles, including any document that refers to the letter from Dechert to ENRC that

              21       was later leaked to Mr. Fortson. Such documents will assist Dechert in preparing for and

              22       defending itself in the claim that ENRC has indicated it is reasonably likely to bring against

              23       Dechert in the United Kingdom, and for which ENRC was granted the right to seek documents

              24       and testimony from Mr. Fortson under its Section 1782 application. ENRC seeks to "establish a

              25       claim that Dechert LLP violated its duty to safeguard confidential information" that was

              26       contained in the letter. Id. 2:28-3:7; 3:9. Through the limited discovery it seeks, Dechert intends

              27       to demonstrate that it was not the source of the leak to Mr. Fortson and did not violate its duty to

              28       safeguard ENRC's confidential information.
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                   1   I.     DECHERT MEETS THE STATUTORY REQUIREMENTS UNDER 28 U.S.C.
                              §1782
                   2
                   3           Section 1782 permits a court to authorize discovery "for use in a proceeding in a foreign

                   4   or international tribunal ... in accordance with the Federal Rules of Civil Procedure." 28 U.S.C.

                   5   § 1782(a). Section 1782 provides:

                   6           The district court of the district in which a person resides or is found may order
                               him to give his testimony or statement or to produce a document or other thing for
                   7           use in a proceeding in a foreign or international tribunal, including criminal
                               investigations conducted before formal accusation. The order may be made
                   8
                               pursuant to a letter rogatory issued, or request made, by a foreign or international
                   9           tribunal or upon the application of any interested person and may direct that the
                               testimony or statement be given, or the document or other thing be produced,
              10               before a person appointed by the court .... A person may not be compelled to
                               give his testimony or statement or to produce a document or other thing in
              11               violation of any legally applicable privilege.
              12               "The statute thus outlines a three part test in deciding whether to grant a§ 1782
              13       application: (1) the discovery sought is from a person residing in the district court to which the
              14       application is made; (2) the discovery is for use in a proceeding before a foreign tribunal; and (3)
              15       the applicant is a foreign or international tribunal or an interested person." In re: Ex Parte
               16      Application Varian Med. Sys. Int'l AG, No. 16-MC-80048-MEJ, 2016 WL 1161568, at *2 (N.D.
              17       Cal. Mar. 24, 2016) (internal quotation marks omitted). A litigant in a foreign action qualifies as
              18       an "interested person" under Section 1782. Intel Corp. v. Advanced Micro Devices, Inc., 542
              19       U.S. 241,256 (2004). In order to apply for discovery pursuant to Section 1782, a formal
              20       proceeding in the foreign jurisdiction need not be currently pending, or even imminent. Id. at 258-
              21       59. Instead, all that is necessary is that a "dispositive ruling" by the foreign adjudicative body is
              22       "within reasonable contemplation." Id. at 259. When considering an application for discovery
              23       pursuant to Section 1782, "the court considers first whether it has the [statutory] authority to grant
              24       the request and then whether it should exercise its discretion to do so." Lazaridis v. Int 'l Centre
              25       for Missing and Exploited Children, Inc., 760 F. Supp. 2d 109, 112 (D.D.C 2011) (citations
              26       omitted). 1
              27
                               This application is filed ex parte. Courts within this Circuit permit the ex parte filing of
              28               applications for discovery under Section 1782. See, e.g., In re Roebers, No. C12-80145
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                   1            Dechert meets all three of the statutory requirements under Section 1782.

               2                First, Dechert's Application seeks discovery from Mr. Fortson, who resides and works in

                   3   the Northern District of California.

                   4             Second, the requested discovery is for use in a pending lawsuit in the United Kingdom,

                   5   where ENRC has indicated it is reasonably likely to bring an additional claim against Dechert

                   6   based on the requested discovery.

                   7             Third, Dechert is an "interested person" because it is a party to the litigation brought by

                   8   ENRC. Intel, 542 U.S. at 256, 258-59.

                   9             Accordingly, Dechert has satisfied all the statutory requirements for an application under

              10       28    u.s.c. § 1782.
              11       II.       THE DISCRETIONARY FACTORS SUPPORT GRANTING DECHERT'S
                                 APPLICATION
              12
                                 A district court has wide discretion to grant discovery under Section 1782. Intel, 542 U.S.
              13
                       at 260-61. In exercising its discretion, a district court should consider the following factors: (1)
              14
                       whether the "person from whom discovery is sought is a participant in the foreign proceeding,"
              15
                       (2) "the nature ofthe foreign tribunal, the character of the proceedings underway abroad, and the
              16
                       receptivity of the foreign government or the court or agency abroad to U.S. federal court judicial
              17
                       assistance," (3) "whether the request conceals an attempt to circumvent foreign proof-gathering
              18
                       restrictions or other policies of a foreign country or the United States," and (4) whether the
              19
                       request is "unduly intrusive or burdensome." !d. at 264-65.
              20

              21

              22
                                 MISC RS (LB), 2012 WL 2862122, at *2 (N.D. Cal July 11, 2012) ("An ex parte
              23                 application is an acceptable method for seeking discovery pursuant to§ 1782.") (citation
                                 omitted); In re Republic of Ecuador, No. C-10-80225 MISC CRB (EMC), 2010 WL
              24                 3702427, at *2 (N.D. Cal. Sept. 15, 2010) ("[I]t is common for the process of presenting
                                 the request to a court and to obtain the order authorizing discovery to be conducted ex
              25
                                 parte. Such ex parte applications are typically justified by the fact that the parties will be
              26                 given adequate notice of any discovery taken pursuant to the request and will then have
                                 the opportunity to move to quash the discovery or to participate in it.") (internal
              27                 quotations and citations omitted). However, as a courtesy, Dechert intends to provide this
                                 Application to ENRC and Mr. Fortson upon filing.
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                   1           A district court's discretion is to be exercised in view of the "twin aims of Section 1782: .

                   2   .. providing efficient assistance to participants in international litigation and encouraging foreign

                   3   countries by example to provide similar assistance to our courts." In re: Ex Parte Application

                   4   Varian Med. Sys. Int'l AG, 2016 WL 1161568, at *2. There is no requirement that the party

                   5   seeking discovery establish that the information sought would be discoverable under the

                   6   governing law in the foreign proceeding or that United States law would allow discovery in an

                   7   analogous domestic proceeding, See Intel, 542 U.S. at 247, 261-63.

                   8           All four of the discretionary factors weigh in favor of granting Dechert's Application.

                   9           A.     Mr. Fortson is Not a Participant in the Foreign Proceeding
               10              The first Intel factor is whether the "person from whom discovery sought is a participant

               11      in the foreign proceeding." Intel, 542 U.S. at 264. If the person is a participant, "the need for§

               12      1782(a) aid generally is not as apparent as it ordinarily is when evidence is sought from a

               13      nonparticipant in the matter arising abroad" because "[a] foreign tribunal has jurisdiction over

               14      those appearing before it, and can itself order them to produce evidence." !d. "In contrast,

               15      nonparticipants in the foreign proceeding may be outside the foreign tribunal's jurisdictional

               16      reach; hence, their evidence, available in the United States, may be unobtainable absent§ 1782(a)
               17      aid." !d.

               18              Mr. Forston is not a participant in ENRC's U.K. proceeding, and thus this factor weighs in
               19      favor of granting Dechert's application.

              20               B.     The U.K. Court Would be Receptive to U.S. Judicial Assistance
              21               The second Intel factor asks the court to "take into account the nature ofthe foreign

              22       tribunal, the character of the proceedings underway abroad, and the receptivity of the foreign

              23       government or the court or agency abroad to U.S. federal-court judicial assistance." Intel, 542

              24       U.S. at 264. "In the absence of authoritative proofthat a foreign tribunal would reject evidence

              25       obtained with the aid of section 1782, courts tend to 'err on the side of permitting discovery.'" In

              26       re: Ex Parte Application Varian Med. Sys. Int'l AG, 2016 WL 1161568, at *4 (internal citation
              27       omitted).

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                   1          The U.S. and the U.K. maintain a positive relationship and nothing indicates that a U.K.

                   2   court would reject information obtained through Section 1782 discovery. Accordingly, this factor

                   3   weighs in favor of granting Dechert's Application.

                   4          c.      Dechert's Request is Not an Attempt to Circumvent Foreign Proof-Gathering
                                      Restrictions Or Policies
                   5
                   6          The third Intel factor considers whether the request "conceals an attempt to circumvent

                   7   foreign proof-gathering restrictions or other policies of a foreign country or the United States."

                   8   Intel, 542 U.S. at 264-65. "A perception that an applicant has side-stepped less-than-favorable

                   9   discovery rules by resorting immediately to § 1782 can be a factor in a court's analysis." In re: Ex

              10       Parte Application Varian Med. Sys. Int'l AG, 2016 WL 1161568, at *5 (internal citation omitted).

              11       "[A]bsent 'authoritative proof that a foreign tribunal would reject the evidence obtained with the

               12      aid of section 1782' ... a district court should not refrain from granting the assistance afforded

              13       under the Act based simply on allegations to that effect." Metallgesellschaft v. Hodapp, 121 F.3d

               14      77, 80 (2d Cir. 1997).

              15              Dechert is unaware of any restrictions imposed by U.K. courts that would prevent it from

               16      obtaining and using discovery under Section 1782. This factor weighs in favor of granting

               17      Dechert's Application.

              18              D.      Dechert's Request is Not an Undue Burden or Intrusion
              19              The fourth Intel factor is whether the request is "unduly intrusive or burdensome." Intel,

              20       542 U.S. at 265. The Intel court noted that "unduly intrusive or burdensome requests may be

              21       rejected or trimmed." Id.

              22              Dechert's request is limited and minimally burdensome. Dechert is seeking to issue three

              23       discrete document requests (two of which are identical to ENRC's requests) and to depose Mr.

              24       Fortson on the topic of those document requests. Upon information and belief, the universe of

              25       responsive documents is limited and easily searchable, and Mr. Fortson could produce the

              26       documents with minimal effort.

              27              Additionally, in the interest of parity at the current juncture, the Court should grant

              28       Dechert's Application since ENRC's application to Mr. Fortson was granted on the same topic
   DECHERT LLP                                                       7
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                   1   and for use regarding the same anticipated claim. Intel, 542 U.S. at 261 ("[P]arity concerns may

                   2   be important as touchstones for a district court's exercise of discretion in particular cases").

                   3   Permitting ENRC to serve a subpoena on Mr. Fortson so that ENRC can gather information to

                   4   bring a claim against Dechert, but not permitting Dechert to gather information to defend itself

                   5   against that claim would put Dechert at an unfair disadvantage. If Mr. Fortson produces

                   6   documents in response to ENRC's requests and is deposed by ENRC, it will be a minimal

                   7   additional burden to produce documents in response to Dechert's request and be deposed by

                   8   Dechert. Granting Dechert's Application would not cause any delay in Mr. Fortson's proceedings

                   9   with ENRC.

               10                                                CONCLUSION
               11             For the foregoing reasons, Dechert respectfully requests that the Court grant its

               12      Application and permit service of the subpoena for documents and testimony.

               13      Dated: June 29,2018                            Respectfully submitted,
               14                                                     DECHERTLLP
               15

               16                                                     Is/ H Joseph Escher III
                                                                      H. JOSEPH ESCHER III
               17                                                     Attorneys for Dechert LLP
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ATTORNEYS AT LAW
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